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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:05CR145
                              )
          v.                  )
                              )
HERIBERTO AGUIANO-ARRONA,     )                      ORDER
                              )
               Defendant.     )
______________________________)


          The Court has been advised that defendant wishes to

enter a plea in the above matter.        Accordingly,

          IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Thursday, September 8, 2005, at 9:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

          DATED this 31st day of August, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
